                Case:
ILND 450 (Rev. 10/13)    1:17-cv-02667
                      Judgment in a Civil Action   Document #: 17 Filed: 09/11/17 Page 1 of 1 PageID #:404

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Trina L. Carpenter & Family,

Plaintiff(s),
                                                                    Case No. 17 C 2667
v.                                                                  Judge Gary Feinerman

City of Chicago, et al.,

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


              other: Judgment is entered in favor of Defendants City of Chicago, et al., and against Plaintiff
Trina L. Carpenter & Family.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Gary Feinerman on a motion.



Date: 9/11/2017                                                  Thomas G. Bruton, Clerk of Court

                                                                 /s/ Jackie Deanes , Deputy Clerk
